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 SLR:LDM:TRP                                                                 US DISTRICT COURT E.D.liY»
 F.#2014R01855
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                                BROOKLYN OFFlCi
                                            X


  UNITED STATES OF AMERICA                         ORDER OF FORFEITURE


           - against -                             16-CR-34(AMD)

  NIMBOKO MILLER,

                          Defendant.


                                            X


                 WHEREAS,on or about July 17,2017, NIMBOKO MILLER (the

 "defendant"), was convicted after a jury trial of Count One and Count Eight ofthe above-

 captioned Indictment, charging violations of 18 U.S.C. §§ 1344 and 1349; and

                 WHEREAS,the Court has determined that, pursuant to 18 U.S.C.

 § 982(a)(2)(A), the defendant must forfeit the amount offorty-five thousand three hundred

 ten dollars and sixty-five cents($45,310.65)(the "Forfeiture Money Judgment") as:(a)any

 property, real or personal, that was involved in, used, or intended to be used to commit or to

 facilitate the commission ofsuch offenses;(b)any property, real or personal, constituting or

 derived from,any proceeds obtained, directly or indirectly, as a result ofsuch offenses, or

 any property traceable to such property; and/or(c)substitute assets, pursuant to 21 U.S.C. §

 853(p).

                 NOW,THEREFORE,IT IS HEREBY ORDERED,ADJUDGED AND

 DECREED as follows:
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                1.     The defendant shall forfeit to the United States the full amount ofthe

 Forfeiture Money Judgment, pursuant to 18 U.S.C, § 982(a)(2)(A) and 21 U.S.C. § 853(p).

               2.      All payments made by the defendant toward the Forfeiture Money

 Judgment shall be made by a money order, or a certified or official bank check, payable to

 the "United States Marshals Service" with the criminal docket number noted on the face of

 the check. The defendant shall cause said check to be delivered by overnight mail to

 Assistant United States Attorney Tanisha R. Payne, United States Attorney's Office, Eastern

 District of New York,271 Cadman Plaza East, 7^ Floor, Brooklyn, New York 11201. The

 Forfeiture Money Judgment shall be paid in full on or before the date of sentence (the "Due

 Date").

               3.      Ifthe Forfeiture Money Judgment is not received as provided above,

 the defendant shall forfeit any other property of his up to the value ofthe outstanding

 balance, pursuant to 21 U.S.C. § 853(p). The defendant shall fiilly assist the government in

 effectutating the payment ofthe Forfeiture Money Judgment. The defendant shall not file or

 interpose any claim or assist other fo file or interpose any claim to any ofthe property

 against which the government seeks to execute the Forfeiture Money Judgment in any

 administrative or judicial proceeding.

               4.      Upon entry ofthis Order ofForfeiture ("Order"), the United States

 Attorney General or his designee is authorized to conduct any proper discovery in

 accordance with Fed. R. Crim. P. 32.2(b)(3) and (c). The United States alone shall hold title

 to the monies paid by the defendant to satisfy the Forfeiture Money Judgment following the

 Court's entry ofthe judgment of conviction.


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               5.      The entry and payment ofthe Forfeiture Money Judgment is not to be

 considered a payment of a fine, penalty, restitution loss amount or a payment of any income

 taxes that may be due and shall survive bankruptcy.

               6.      Pursuant to Fed. R. Grim. P. 32.2(b)(4)(A) and (B), this Order shall

 become final as to the defendant at the time of sentencing and shall be made part ofthe

 defendant's sentence and included in the judgment. This Order shall become the Final Order

 of Forfeiture, as provided by Fed. R. Grim. P. 32.2(c)(2). At that time, the properties

 forfeited herein shall be forfeited to the United States for disposition in accordance with the

 law.


               7.      This Order shall be binding upon the defendant and the successors,

 administrators, heirs, assigns and transferees ofthe defendant, and shall survive the

 bankruptcy of any ofthem.

               8.      This Order shall be final and binding only upon the Court's "so

 ordering" ofthe Order.

               9.      The Court shall retain Jurisdiction over this action to enforce

 compliance with the terms of this Order and to amend it as necessary, pursuant to Fed. R.

 Grim. P. 32.2(e).

 Dated: Bjook^n, New York
                       ^         2018


                                                        s/Ann M. Donnelly
                                             H0140RABLE ANN M.DONNELLY
                                             UNITED STATES DISTRICT JUDGE
                                             EASTERN DISTRICT OF NEW YORK



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